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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE

                                                    MDL No. 2875
      IN RE: VALSARTAN, LOSARTAN,
      AND IRBESARTAN PRODUCTS                       Honorable Robert B. Kugler,
      LIABILITY LITIGATION                          District Court Judge


      This Document Relates to All Actions


            DEFENDANTS’ RESPONSE TO PLAINTIFFS’ NOTICE OF
                SUPPLEMENTAL AUTHORITY [ECF NO. 2173]

          On October 13, 2022, Plaintiffs submitted a jury verdict form from a class

  action trial as supposed supplemental authority in support of their pending motion

  for class certification. See ECF. No. 2173-1. As set forth below, the jury verdict form

  in Siqueiros v. General Motors LLC, No. 3:16-cv-07244 (N.D. Cal.) only serves to

  highlight why class certification is inappropriate in this litigation.

          Notably, the Siqueiros court denied certification of the vast majority of the

  plaintiffs’ claims in that case.1 The court substantially narrowed the remaining


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     Moreover, for many claims, including all claims for unjust enrichment, the
  Siqueiros Court never reached the issue of class certification because these claims
  were dismissed at the summary judgment stage. See Sloan v. Gen. Motors LLC, No.
  16-CV-07244-EMC, 2020 WL 1955643, at *27 (N.D. Cal. Apr. 23, 2020); Siqueiros
  v. Gen. Motors LLC, No. 16-CV-07244-EMC, 2021 WL 2115400, at *20 (N.D. Cal.
  May 25, 2021), on reconsideration in part, No. 16-CV-07244-EMC, 2021 WL
  3291837 (N.D. Cal. Aug. 2, 2021).
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  proposed classes and certified only three claims under three states’ laws, all arising

  out of the same alleged engine defect in the at-issue vehicles: two for breach of

  implied warranty under the laws of California and North Carolina, and one for

  violation of the Idaho Consumer Protection Act. Plaintiffs assert that this four-page

  verdict form “is but the latest example of the manageability of a multi-state class

  trial.” See ECF No. 2173 (the “Notice”). But to the extent Siqueiros has any

  relevance to this matter, it only serves to highlight why Plaintiffs’ claims here are

  not manageable.

        First, although Siqueiros was described as a “multi-state class trial,” it

  involved only one claim from each of just three states. That stands in stark contrast

  to Plaintiffs’ request in this case to certify 93 overlapping subclasses of economic

  loss consumers advancing five different claims per state under the laws of 52

  jurisdictions against 30 defendants, with individual subclasses encompassing

  claims from at least three dozen states. Plaintiffs gloss over the stark differences in

  scope and complexity between that case and this litigation.

        Second, the jury instructions used in Siqueiros (attached hereto as Exhibit A)

  underscore the manageability problems that plague Plaintiffs’ class proposal here,

  which is presumably why Plaintiffs neglected to attach them to Plaintiffs’ Notice.

  After all, the jury instructions for just three claims from three states spanned 34

  pages, with nine discrete jury instructions directed to the three-state-specific claims,


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  including state-specific jury instructions on the substantive elements of each claim,

  affirmative defenses like statute of limitations, and tolling instructions for fraudulent

  concealment and the discovery rule. The jury instructions here would be

  exponentially more complex and unmanageable, with a jury having to resolve 5

  claims per state, across 52 separate jurisdictions, incorporating 30 defendants’

  defenses. No jury, no matter how diligent, could keep track of and faithfully apply

  such long and disparate instructions.

         Third, the Siqueiros court has not entered judgment on the jury’s verdict,

  which is subject to post-trial motions practice and appeal. See Siqueiros v. General

  Motors LLC, No. 3:16-cv-07244 (N.D. Cal.), Docket Report.

         For these reasons, the Siqueiros verdict form only demonstrates the

  unmanageability of Plaintiffs’ trial proposal, further undermining their motion for

  class certification.


  Dated: October 20, 2022                     By: /s/ Gregory E. Ostfeld

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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 20, 2022, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which will send

  a notice of electronic filing to all CM/ECF participants in this matter.

                                                /s/ Gregory E. Ostfeld
                                                Gregory E. Ostfeld
